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 WDMI Corporate Disclosure Statement pursuant to Fed.R. Civ. P. 7.1 or Fed. R. Crim. P. 12.4 (4/06)




                                            UNITED STATES DISTRICT COURT
                                            WESTERN DISTRICT OF MICHIGAN

Scott Probst, Johnny Aaron, Denni�

                       Plaintiff(s),                                           Case No.

 V.                                                                                                                  1 :24-mc-105
                                                                                                                     Phillip J. Green
Karen D. Buie, Clerk, Lori Hayes                                                                                     U.S. Magistrate Judge
                       Defendant(s).
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             DISCLOSURE OF CORPORA TE AFFILIATIONS AND FINANCIAL INTEREST


 Pursuant to Federal Rule of Civil Procedure 7 .1,
                                                                                                        Scott Probst
                                                                                                          (Party Narm)
 makes the following disclosure:

            1. Is party a publicly held corporation or other publicly held entity? Oves � No

            2. Does party have any parent corporations? Oves ti No                                I I
               If yes, identify all parent corporations, including grandparent and great-grandparent
               corporations:




            3. Is 10% or more of the stock o�rty owned by a publicly held corporation or other
               publicly held entity? Oves � No
               If yes, identify all such owners:




            4. Is there any other publicly held corporation or othe�blicly held entity that has a direct
               financial interest in the outcome of the litigation? LJYes ti1 No                         I !
               If yes, identify entity and nature of interest:




                                                                                                            (Signature)
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